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AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations
                                                                                                               JUN 2 9 2020             j
                                     UNITED STATES DISTRICT COUR                                          ------------ .. , ,_, _______ J
                                            SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA

                                V.
               WILLIAM MANN LUK.SIC (1)
                                                                          Case Number:        3:09-CR-02197-WQH

                                                                       Karren Kenney
                                                                       Defendant's Attorney
REGISTRATION NO.                14365-298
•-
THE DEFENDANT:
1:8:1 admitted guilt to violation of allegation(s) No.       1-2,6-9,12, 14-15

D    was found guilty in_violation ofallegation(s) No.
                                                           ------------- after denial of guilty.
Accordin2ly, the court has adjudicated that the defendant is guilty of the following; alleg;ation(s):

Allegation Number                  Nature of Violation
           1-2                     nvla, Comply with all lawful rules of the probation department
           6-8                     nvla, Comply with all lawful rules of the probation department
              9                    nvl4, Unauthorized association with criminals/felons
             12                    nv8, Failure to be truthful and/or follow instructions
            14-15                  nvla, Comply with all lawful rules of the probation department


     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through6 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.




                                                                      HON. WILLIAM Q. HAY
                                                                      UNITED STATES DI
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Time Served




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:
       •     at                             AM.               on
       •     as notified by the United States Marshal.

       The defendant shall surrender for ·service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
I have executed this judgment as follows:

       Defendant delivered on   ___...;.__________                       to   ---------------
at - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL



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                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
Ten (10) years

                                              MANDATORY CONDITIONS
1. The defendant must not commit another federal, state or local crime.
2. The defendant must not unlawfully possess a controlled substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
   controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
   two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
   than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
        D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
           risk of future substance abuse. (check if applicable)
4.   •The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. (check if applicable)
5. IZ!The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.   • The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
     20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
     the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. ( check if
     applicable)
7.   • The defendant must participate in an approved program for domestic violence. (check if applicable)
The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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                                      STANDARD CONDITIONS OF SUPERVISION
As part of the defendant's supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant's behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant's conduct and condition.

l. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
   hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
   office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
   as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
   anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
   unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
   expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
   permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
   time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
   defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
   due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
   change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
   knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
   first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
    as nunchakus or tasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
    officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
    The probation officer may contact the person and confirm that the defendant notified the person about the risk.

13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.




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                               SPECIAL CONDITIONS OF SUPERVISION


   1. Not possess any materials such as videos, magazines, photographs, computer images, or any other
       matter that depicts "sexually explicit conduct" involving children as defined by 18 U.S.C. § 2256(2).
   2. Not associate with, or have any contact with sex offenders unless in an approved treatment and/or
       counseling setting.
   3. Not be employed in or participate in any volunteer activity that involves contact with children under the
       age of 18, except under circumstances approved in advance (and in writing) by the probation officer.
   4. Consent to a third party disclosure to any employer, potential employer concerning any restrictions that
       are imposed by the court.
   5. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
       material, or through any third-party communication, with the victim or victim's family without approval
       of the probation officer.
   6. Not accept or commence employment without prior approval of the probation office, and employment
       should be subject to continuous review and assessment by the probation officer.
   7. Not be self-employed nor be employed by friends, relatives, associates, or acquaintances unless
       approved by the probation officer.
   8. Reside in a residence approved in advance by the probation officer, and any changes in residence shall
       be pre-approved by the probation officer.
   9. The offender shall be monitored by location monitoring technology at the discretion of the probation
       officer which shall be utilized for purposes of verifying compliance with any court-imposed condition of
       supervision. The offender shall have a daily curfew as directed by the court and/or probation officer, and
       shall abide by all technology requirements. The participant shall pay all or part of the costs of
       participation in the location monitoring program as directed by the court and/or the probation officer.
   10. Submit your person, property, residence, abode, vehicle, papers, computer, social media accounts, any
       other electronic communications or data storage devices or media, and effects to search at any time, with
       or without a warrant, by any law enforcement or probation officer with reasonable suspicion concerning
       a violation of a condition of probation/supervised release or unlawful conduct, and otherwise in the lawful
       discharge of the officer's duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3). Failure to submit to a search may
       be grounds for revocation; you must warn any other residents that the premises may be subject to searches
       pursuant to this condition.
   11. Not loiter within 200 yards of a school, schoolyard, playground, park, amusement center/park, public
       swimming pool, arcade, daycare center, carnival, recreation venue, library and other places primarily
       frequented by persons under the age of 18, without prior approval of the probation officer.




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     12. Not use or possess any computer, computer-related devices (pursuant to 18 U.S.C. § 1030(e)(l)), which
         can communicate data via modem, dedicated connections or cellular networks, and their peripheral
         equipment, without prior approval by the court or probation officer, all of which are subject to search and
         seizure. The offender must consent to installation of monitoring software and/or hardware on any
         computer or computer-related devices owned or controlled by the offender that will enable the probation
         officer to monitor all computer use and cellular data. The offender must pay for the cost of installation of
         the computer software.
     13. Not initiate any contact (personal, electronic or otherwise) or associate with anyone under the age of 18,
         unless in the presence of a supervising adult who is aware of the offender's deviant sexual behavior and
         nature of offense and conviction, with the exception of the offender's biological children, unless approved
         in advance by the probation officer.
     14. Complete a sex offender evaluation, which may include periodic psychological, physiological testing
         (limited to polygraph), and completion of a visual reaction time (VRT) assessment, at the direction of the
         court or probation officer. If deemed necessary by the treatment provider, the offender shall participate
         and successfully complete an approved state-certified sex offender treatment program, including
         compliance with treatment requirements of the program. The Court authorizes the release of the
         presentence report, and available psychological evaluations to the treatment provider, as approved by the
         probation officer. The offender will allow reciprocal release of information between the probation officer
         and the treatment provider. The offender may also be required to contribute to the costs of services
         rendered in an amount to be determined by the probation officer, based on ability to pay. Polygraph
         examinations may be used following completion of the formal treatment program as directed by the
         probation officer in order to monitor adherence to the goals and objectives of treatment and as a part of
         the containment model.
     15. Reside in a residential reentry center (RRC) for a period of up to 120 days, at the direction of the
         probation officer.
     16. Participate in a program of mental health treatment as directed by the probation officer. The court
         authorizes the release of the presentence report and available psychological evaluations to the mental
         health provider, as approved by the probation officer. Allow for reciprocal release of information
         between the probation officer and the treatment provider. May be required to contribute to the costs of
         services rendered in an amount to be determined by the probation officer, based on ability to pay.



II




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